         Case: 3:20-cv-00980-wmc Document #: 6 Filed: 11/09/20 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WISCONSIN

 JULIUS A. GOODWIN III,

          Plaintiff,                                                        ORDER
    v.
                                                                  Case No. 20-cv-980-wmc
 DANE COUNTY JAIL, et al

          Defendants.


         Plaintiff Julius A. Goodwin III has submitted a certified inmate trust fund account

statement for the six month period preceding the complaint in support of the pending motion

to proceed without prepayment of the filing fee.          Accordingly, the court must determine

whether plaintiff qualifies for indigent status and, if so, calculate an initial partial payment of

the $350.00 fee for filing this case.

         Even when an inmate litigant qualifies for indigent status, the litigant must pay a

portion of the fee returned by the formula set forth in 28 U.S.C. § 1915(b)(1).                 Using

information for the relevant time period from plaintiff’s trust fund account statement, I

calculate plaintiff’s initial partial filing fee to be $54.66. For this case to proceed, plaintiff must

submit this amount on or before November 30, 2020.

         If plaintiff does not have enough money to make the initial partial payment from

plaintiff’s regular account, plaintiff should arrange with prison authorities to pay the remainder

from plaintiff’s release account.
        Case: 3:20-cv-00980-wmc Document #: 6 Filed: 11/09/20 Page 2 of 2




                                             ORDER

       IT IS ORDERED that,

       1.      Plaintiff Julius A. Goodwin III is assessed $54.66 as an initial partial payment

of the $350.00 fee for filing this case. Plaintiff is to submit a check or money order made

payable to the clerk of court in the amount of $54.66 or advise the court in writing why plaintiff

is not able to submit the assessed amount on or before November 30, 2020.

       2.      If, by November 30, 2020, plaintiff fails to make the initial partial payment or

show cause for failure to do so, plaintiff will be held to have withdrawn this action voluntarily

and the case will be closed without prejudice to plaintiff filing this case at a later date.

       3.      No further action will be taken in this case until the clerk’s office receives

plaintiff’s initial partial filing fee as directed above and the court has screened the complaint

as required by the Prison Litigation Reform Act, 28 U.S.C. § 1915A. Once the screening

process is complete, a separate order will issue.




               Entered this 9th day of November, 2020.

                                      BY THE COURT:


                                      /s/
                                      PETER OPPENEER
                                      Magistrate Judge




                                                 2
